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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                             )
                                                    )
 Diversified Resources Inc.                         )      Case No. 19-13627-EEB
                                                    )
 BIYA Operators Inc.                                )      Case No. 19-13628-EEB
                                                    )
 Natural Resources Group Inc.                       )      Case No. 19-13629-EEB
                                                    )
                         Debtors.                   )      Chapter 11
                                                    )      (Jointly Administered)

                    UNITED STATES TRUSTEE’S APPOINTMENT OF
                OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
                       CASE OF DIVERSIFIED RESOURCES INC.

        The United States Trustee hereby appoints the following creditors to the Official
 Unsecured Creditors’ Committee in the case of Diversified Resources Inc., Case No. 19-13627:

          Robert E. Joyce, Jr. (Representative: Robert E. Joyce, Jr.)
          2317 Keystone Dr.
          Evergreen, CO 80439
          (303)670-7349
          robert@joyce-jr.com

          Natural Petroleum Corp. (Representative: Ronald McGinnis)
          597 W. Waterview
          Green Valley, AZ 85614
          (520)490-6824
          Rrmcginnis34@gmail.com

          Condit Csajaghy, LLC. (Representative: Josh Bugos)
          695 S. Colorado Blvd., Ste. 270
          Denver, CO 80246
          (720)287-6606
          josh@cclawcolorado.com

          Hart & Hart, LLC (Representative: William Hart)
          1624 N. Washington St.
          Denver, CO 80203
          (303)839-0061
          harttrinen@aol.com

          Richard and Debbie Baldwin (Representative: Debbie Baldwin)
          15 Road 3088
          Aztec, NM 87410
          (505)793-6193
          baldwinracer@hotmail.com
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 Dated: June 18, 2019                 Respectfully submitted,

                                      PATRICK S. LAYNG
                                      UNITED STATES TRUSTEE

                                      /s/ R. Samuel Boughner
                                      By: R. Samuel Boughner, #AR#2010272
                                      Trial Attorney for the U.S. Trustee
                                      1961 Stout Street, Suite 12-200
                                      Denver, CO 80294
                                      (303) 312-7252
                                      (303) 312-7259 fax
                                      Samuel.Boughner@usdoj.gov
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 18, 2019, a copy of the UNITED STATES
 TRUSTEE’S APPOINTMENT OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS
 was served by deposit in the United States Mail, postage prepaid, or electronically through the
 CM/ECF system, on the following parties:

 Diversified Resources Inc.
 P.O. Box 370
 Littleton, CO 80160

 Natural Resource Group, Inc.
 P.O. Box 370
 Littleton, CO 80160

 BIYA Operators Inc.
 P.O. Box 370
 Littleton, CO 80160

 Machael J. Guyerson, via CM/ECF

 Jolene M. Wise, via CM/ECF

 Kevin Paul VanLandingham, via CM/ECF

 Michael Zevenbergen, via CM/ECF

 Margaret R. Pflueger, via CM/ECF

 Phillip A. Parrot, via CM/ECF

 Jeffrey Weinman, via CM/ECF

 Patrick D. Vellone, via CM/ECF

 Rachel A. Sternlieb, via CM/ECF

 James A. Askew, via CM/ECF

 Joshua F. Bugos, via CM/ECF

 Neal K. Dunning, via CM/ECF

                                                /s/ R. Samuel Boughner
                                                Office of the United States Trustee
